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                      UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

        Plaintiff

            v.
                                                     CR. NO. 07-290 (PG)
DANNY GUZMAN-CORREA [6], ET AL.

        Defendants.



                                  OPINION AND ORDER
      Defendant Danny Guzman-Correa (“Defendant” or “Guzman”) filed a “Motion
for New Trial or, in the Alternative, Motion for Judgment Notwithstanding[sic]
the   Verdict”   (Docket   No.   2942).   The   government   responded   opposing   the
Defendant’s request. See Docket No. 3484. For the reasons that follow, the Court
DENIES Defendant’s motion.
                                    I. BACKGROUND
      On July 24, 2007, Defendant, one of the leaders of this ninety-five co-
defendant criminal case, was charged with three counts of firearm and narcotics
violations involving heroin, crack cocaine, cocaine, and marijuana, all in
violation of 21 U.S.C. §§ 841(a)(1), 846, 860, 853, and 18 U.S.C. § 924(c)(1)
and (2). On September 3, 2009, the Defendant was found guilty of the counts he
was charged of in the above-captioned case. See Docket No. 2916.
      Immediately thereafter, the Defendant filed the motion now before the
Court arguing: (1) that the evidence was insufficient to find the Defendant
guilty of knowingly, intentionally and unlawfully possess, use and carry
firearms in furtherance of a drug trafficking crime in violation of 18 U.S.C.
§ 924 (c)(1); (2) that the government committed several violations to the
Supreme Court’s holding in Napue v. Illinois, 360 U.S. 264 (1959) during the
testimonies of witnesses Miguel Lespier (“Lespier”), Elvin Cartegena-Colon
(“Cartagena”), and Heriberto Garcia (“Garcia) by allowing them to testify
falsely; (3) that the Defendant is entitled to a new trial because the Court
admitted into evidence the fruits of an illegal search and seizure. See Docket
No. 2942.
      In its opposition, the government submits that Guzman was proven guilty
of constructive illegal possession of a firearm; that the matters Defendant
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claims to be Napue violations are issues of credibility that are within the
province of the jury; and, that Guzman lacks standing to challenge the admission
of the evidence in question. See Docket No. 3484.
                               II. STANDARD OF REVIEW
A. Federal Rule of Criminal Procedure 29
      The Federal Rules of Criminal Procedure provide that a Court may set aside
a jury verdict of guilty and enter judgement of acquittal upon a motion for
judgment of acquittal. FED.R.CRIM.P. 29(c). “The standard under Rule 29 is
identical in both the trial and appellate courts,” see U.S. v. Sotomayor, 222
F.Supp.2d 142, 143 (D.P.R. 2002), namely, “the court must view the evidence,
together with all reasonable inferences that may be drawn therefrom, in the
light most favorable to the government, … and while so doing, must ask whether
a rational trier of facts could have found guilt beyond a reasonable doubt.”
See U.S. v. Loder, 23 F.3d 586, 589 (1st Cir.1994) (internal citations and
quotation marks omitted). Therefore, “[t]he government need not succeed in
eliminating every possible theory consistent with the defendant’s innocence,
… , and circumstantial evidence alone may be sufficient to provide a basis for
conviction.” U.S. v. Rodriguez-Duran, 507 F.3d 749, 758 (1st Cir.2007)
(internal citations omitted). In fact, in applying this standard, “no premium
is placed upon direct as opposed to circumstantial evidence; both types of
proof can adequately ground a conviction.” United States v. Ortiz, 966 F.2d
707, 711 (1st Cir.1992).
      In ruling on a motion under Rule 29, “the trial judge must resolve all
evidentiary conflicts and credibility questions in the prosecution’s favor;
and, moreover, as among competing inferences, two or more of which are
plausible,    the    judge   must   choose   the   inference    that   best   fits   the
prosecution’s theory of guilt.” U.S. v. Olbres, 61 F.3d 967, 970 (1st
Cir.1995). “The court must reject only those evidentiary interpretations that
are unreasonable, insupportable, or overly speculative, and must uphold any
verdict that is supported by a plausible rendition of the record.” U.S. v.
Ofray-Campos, 534 F.3d 1, 31-32 (1st Cir.2008) (citing Hernandez, 218 F.3d at
64) (internal quotation marks omitted). See also U.S. v. Cruzado-Laureano, 404
F.3d 470, 480 (1st Cir.2005) (“Ultimately, the court need not believe that no
verdict other than a guilty verdict could sensibly be reached, but must only
satisfy itself that the guilty verdict finds support in a plausible rendition
of the record.”) (citing United States v. Gomez, 255 F.3d 31, 35 (1st
Cir.2001)).
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B. Federal Rule of Criminal Procedure 33
      Rule 33 of the Federal Rules of Criminal Procedure states that “the court
may grant a new trial if the interest of justice so requires.” FED.R.CRIM.P.
33(a). A defendant may ground a motion for new trial on newly discovered
evidence or other grounds. FED.R.CRIM.P. 33(b). “The standard for granting a
motion for a new trial is quite high.” U.S. v. Genao-Sanchez, 208 F.Supp.2d
130, 134 (D.P.R. 2002). “[A] new trial is generally warranted only in the rare
circumstance where retrial is necessary to prevent a miscarriage of justice.”
U.S. v. Rosario-Diaz, 202 F.3d 54, 66 (1st Cir.2000) (citing United States v.
González-González, 136 F.3d 6, 12 (1st Cir.1998)). See also U.S. v. Rodriguez-
De Jesus, 202 F.3d 482, 486 (1st Cir.2000)(“The remedy of a new trial is rarely
used; it is warranted only where there would be a miscarriage of justice or
where the evidence preponderates heavily against the verdict.”); U.S. v.
Garcia-Alvarez, Nos. 07-1471, 07-1697, 2008 WL 4074287, at *6 (1st Cir.
September 04, 2008)(“The remedy of a new trial is to be granted sparingly and
only to avoid a miscarriage of justice.”).
      “Motions for new trial are directed to the discretion of the trial court.
In considering such a motion, the court has broad power to weigh the evidence
and assess the credibility of both the witnesses who testified at trial and
those whose testimony constitutes ‘new’ evidence.” U.S. v. Wright, 625 F.2d
1017, 1019 (1st Cir.1980)(internal citations omitted).
                                 III. DISCUSSION
A. Sufficiency of the Evidence
      In Count Two of the Indictment, Docket No. 2, Guzman was charged with a
violation of § 924(c)(1) and (2) for possessing firearms in furtherance of drug
trafficking. The first issue presented by the Defendant in his motion requesting
a new trial is that the evidence presented during trial was insufficient to
convict him of this weapons charge. Guzman argues that the government only
showed that he was in the presence of a firearm in only one occasion, and thus,
he claims relatively little evidence was presented at trial that linked him to
the firearm possession charge. The government contends that the testimony
presented proved that to the extent Guzman was one of the leaders of the drug-
trafficking organization, he was in constructive possession of firearms.
      “To convict under § 924(c)(1), the government must prove possession of the
guns and a significant nexus between the guns and the drug crime, meaning that
‘the firearm facilitates or has the potential to facilitate the drug trafficking
offense.’” U.S. v. Rodriguez-Lozada, 558 F.3d 29, 40 (1st Cir.2009) (citing
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United States v. Roberson, 459 F.3d 39, 48 (1st Cir.2006)). With regards to
constructive possession, the First Circuit Court of Appeals held in Rodriguez-
Lozada that:
             Constructive possession is shown if Rodriguez knowingly
             had the power and intention to exercise dominion and
             control over a firearm directly or through others.
             … Constructive possession can be joint, does not require
             actual ownership of the firearm, and can be established
             through circumstantial evidence ….

            On the other hand, mere presence with or proximity to
            weapons or association with another who possesses a
            weapon are not enough to prove constructive possession.
            …. Instead, the government must show some action, some
            word, or some conduct that links the individual to the
            contraband and indicates that he had some stake in it,
            some power over it.
Rodriguez-Lozada, 558 F.3d at 40 (internal citations and quotation marks
omitted).
      In the case at hand, the government presented the testimony of co-
defendant Miguel Lespier (“Lespier”), a leader of the drug conspiracy charged
in the indictment of the above-captioned case, who declared that in 2004 Guzman
became the owner of a heroin drug point at the Dr. Pila Housing Project
(“DPHP”); that the drug points would employ individuals to act as “enforcers”,
who were armed; and, that “El Combo de Dr. Pila.”, the group of drug point
owners of which Defendant was a part of, had firearms and weapons, such as AK-
47’s. See Docket No. 2826, 2831. In addition, co-defendant Roberto Pizarro
(“Pizarro”), a drug seller at DPHP, also identified Guzman as the owner of this
heroin drug point, and testified as to an incident that took place at the end
of 2004 during which Guzman asked him to check out a suspicious vehicle that was
parked outside the housing project. Pizarro complied to Guzman’s request
equipped with a weapon he borrowed from Defendant’s brother.               See Docket
No. 2841.
      To the extent that the Defendant argues that the government failed to
prove that he used a firearm or had one in his personal possession, he misstates
the crime with which he was charged. See Rodriguez-Lozada, 558 F.3d at 40 at
n. 9. As proffered by the government in their response, “[i]t is not necessary,
however, for [the defendant] to have owned or physically possessed the guns to
satisfy the possession requirements of … § 924(c)(1) because possession may be
constructive.” Id. at 41.
      Based on the above-stated evidence, which is taken in the light most
favorable to the government, the jury could have found beyond a reasonable doubt
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that Guzman was guilty of the weapons charges. Accordingly, the Court rejects
Guzman’s insufficiency of the evidence argument set forth in his motion.
B. Napue Violations
      The Defendant argues in his motion that the government violated his right
to due process when Lespier, Cartagena and Garcia were permitted to testify
despite the fact that their testimony was untruthful. See Docket No. 2942. In
its opposition, the government denies Guzman’s allegation. See Docket No. 3484.
      The rules governing the issue the Defendant now presents to this Court
were established by the Supreme Court in Napue v. Illinois, 360 U.S. 264 (1959).
            There a government witness, in response to a question by
            the prosecutor, testified that he had received no
            promise of consideration in return for his testimony.
            The prosecutor had in fact promised him consideration,
            but did nothing to correct the witness’ false testimony.
            The Supreme Court held that the prosecutor may not
            knowingly use false evidence, including false testimony,
            to obtain a tainted conviction regardless of whether the
            prosecutor solicits false evidence or, as here, allows
            false evidence to go uncorrected when it appears. The
            use of such false testimony violates the defendant’s
            constitutional right to due process. A new trial is
            required if the false testimony could in any reasonable
            likelihood have affected the judgment of the jury.
U.S. v. Mangual-Garcia, 505 F.3d 1, 10 (1st Cir.2007) (citing Napue, 360 U.S.
264 (1959); Giglio v. United States, 405 U.S. 150, 154 (1972)) (internal
quotations omitted).
      First, the Defendant complains about the lack of “cross corroboration”
among the testimonies provided by the government’s witnesses. The Court is at
a loss to understand how this constitutes a Napue violation on the part of the
government. Because this is clearly not an issue that can arguably be raised
under Napue, the Court will disregard it.
      With regards to co-defendant and government witness Lespier, the Defendant
complains that his testimony pertaining to his participation in meetings with
the members of “El Combo de Dr. Pila” and about partaking in the murders of
Ricky Pra and other individuals was not in the Drug Enforcement Administration’s
(DEA) investigative reports, known as DEA-6’s, produced by Agent Victor
Iglesias. However, the First Circuit Court of Appeals has held that “[t]he
government violates due process when it obtains a conviction by soliciting or
failing to correct false evidence.” U.S. v. Casas, 425 F.3d 23, 45 (1st
Cir.2005) (citing Napue, 360 U.S. at 269) (emphasis ours). The fact that Lespier
testified during trial that he made some declarations to the DEA agent that were
in turn omitted from the relevant DEA-6 reports does not forcefully imply that
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the government made a knowing presentation of false testimony. In addition,
“neither Napue nor any other decision prohibits a prosecutor from calling
witnesses who will present conflicting stories.” Casas, 425 F.3d at 45 (internal
citations and quotation marks omitted). If Lespier gave a different account
during trial than the one he gave during his conversations with the DEA agent
is a matter to be explored on cross-examination. Finally, DEA-6 reports “are
short, concise, summaries of the witnesses’ version of the facts as recounted
to the agents.” U.S. v. Weintraub, 871 F.2d 1257, 1260 (5th Cir.1989) (citing
United States v. Merida, 765 F.2d 1205, 1215 (5th Cir.1985)). “Thus, the fact
that a specific piece of trial testimony is not included in a DEA-6 report is
not necessarily a reflection on the credibility of the witness, but instead may
be the result of an agent’s transcription techniques.” Weintraub, 871 F.2d at
1260.
        The Defendant also complains that the government allowed Lespier to
declare that he met Guzman in mid-2004 at a disco in Old San Juan when, at the
time, the Defendant was still incarcerated. According to the record, the
testimony during Lespier’s cross-examination was as follows:
             Q And how long after you took over did you allegedly
             meet with Mr. Guzman in a discotheque?

             A 2004, approximately.

             Q Pardon?

             A 2004, approximately.

             Q When in 2004? Early? Middle?

             A Mid 2004.

             Q March-April, April-May?

            A I don't recall. Midway through it. I don't recall
            dates.
See Docket No. 2835 at page 31 (emphasis ours). It is clear from the record that
Lespier’s testimony during cross-examination was that he didn’t recall exact
dates, and thus, the government was under no obligation to intervene and correct
the witness.
        With regards to Cartagena, the Defendant complains that the witness
testified during cross-examination that he had not discharged a weapon, whereas
according to a letter prepared by the prosecutors and delivered to Defendant
prior to trial, Cartagena had both possessed and discharged firearms in the
past. Again, if the issue was due to the witness giving conflicting accounts to
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the government and at trial, “such conflicts are a matter to be explored on
cross-examination … , and the credibility of each account is for the jury to
determine.” Casas, 425 F.3d at 45. Moreover, “merely to point to inconsistencies
between two versions of a witness’ testimony does not show that the government,
… , was presenting false testimony, let alone testimony known to be false.” U.S.
v. Pagan-Santini, 451 F.3d 258, 265 (1st Cir.2006) (citing United States v.
Pandozzi, 878 F.2d 1526, 1532 (1st Cir.1989)).
      Finally, regarding Garcia’s testimony during trial, Guzman argues that the
witness was allowed to testify that he was not receiving anything in exchange
for his testimony. The Defendant claims in his motion that despite Garcia’s
admission to being a seller at the Dr. Pila Housing Project, he is not being
charged with said conduct, and thus, “it is highly unlikely he would have been
permitted to testify absent some kind of agreement.” See Docket No. 2942 at
pages 7-8. As pointed out by the government in its opposition, this statement
is merely unsupported speculation and the Court will not validate it by
discussing it herein.
      In the case at hand, although the Defendant claims that the witnesses gave
false testimonies in several occasions during trial, “he offers no evidence that
would lead to the conclusion that the government knew that the testimony was
allegedly false.” See Abrante v. St. Amand, 595 F.3d 11, 18 (1st Cir.2010).
Consequently, considering the standard for granting a motion for a new trial is
so high, we find that Defendant has not met his burden and his arguments must
thus fail.
C. Fourth Amendment Claim
      In his motion, the Defendant also reiterates an argument raised many times
before trial and rejected by the Court in each instance: that the evidence
seized during a “traffic stop” on August 5th , 2005 from a Chevrolet Malibu that
was rented by the Defendant but occupied by others. The Defendant also
challenges this Court’s refusal to hold an evidentiary hearing on this issue.
On the other hand, the government contends that the Defendant lacks standing to
challenge the traffic stop in question and did not have an absolute right to an
evidentiary hearing on the issue.
      The Fourth Amendment provides that the “right of the people to be secure
in their persons, houses, papers, and effects, against unreasonable searches and
seizures, shall not be violated … .” U.S. CONST. amend. IV. “Police searches are
constrained by the Fourth Amendment’s reasonableness requirement … .” U.S. v.
McGhee, No. 09-1322, 2010 WL 4943108 (1st Cir. December 07, 2010). “A ‘search’
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occurs when an expectation of privacy that society is prepared to consider
reasonable is infringed. A ‘seizure’ of property occurs when there is some
meaningful interference with an individual’s possessory interests in that
property.” U.S. v. Jacobsen, 466 U.S. 109, 113 (1984).
      “Before a court may reach the merits of a motion to suppress, ‘the
defendant   carries the burden of establishing that he had a reasonable
expectation of privacy with respect to the area searched or … the items
seized.’” Rodriguez-Lozada, 558 F.3d at 37 (citing United States v. Lipscomb,
539 F.3d 32, 35-36 (1st Cir.2008)). “Although the threshold requirement is
referred to as standing, it is more properly considered under a Fourth Amendment
analysis.” Rodriguez-Lozada, 558 F.3d at 37. “[F]ailure to present evidence with
respect to such an expectation prevents a defendant from making a claim for
suppression under the Fourth Amendment.” United States v. Samboy, 433 F.3d 154,
162 (1st Cir.2005) (citing United States v. Lewis, 40 F.3d 1325, 1333 (1st
Cir.1994)).
      The evidence Defendant seeks to suppress stems from a police search that
took place on August 5th , 2005, found in a Chevorelet Malibu 2004, license plate
GBT 257. The record indicates that the Police of Puerto Rico stopped the car,
which was occupied by co-defendants Fernando C. Martine-Serrano, Fernando
Rodriguez-Martinez, and Axel Vázquez-Medina, and found controlled substances and
paraphernalia during their search. The vehicle in question was rented to
defendant Guzman by Avis from July 9th, 2005, until August 9th, 2005. Guzman
admits that he lent the rented car to its occupants. Therefore, it stems from
the record that Guzman was not the owner of the vehicle searched, nor was the
car in his possession and/or control on the date of the events.
      The question before the Court has always been whether Defendant had a
reasonable expectation of privacy in the area searched and in relation to the
items seized. The answer is no.
      In a similar case to the one at hand, the Sixth Circuit Court of Appeals
held that the defendant in whose name the car had been rented, but who was not
in possession of the car where the police found the drugs at the time of the
search, lacked standing to challenge the search. See U.S. v. Blanco, 844 F.2d
344 (6th Cir.1988). The court found that because the defendant did not keep
possession of the car, gave his only set of keys to another co-defendant, had
no access to the car thereafter, and could not exclude others from the vehicle,
he had no subjective expectation of privacy in the rented car. See id. at 349.
In fact, the court in Blanco based its holding on a First Circuit Court of
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Appeals case, namely, United States v. Gomez, 770 F.2d 251 (1st Cir.1985),
wherein the First Circuit refused to suppress evidence acquired in a search of
an apartment that the defendant had rented but did not occupy or use. See
Blanco, 844 F.2d 349 (citing Gomez, 770 F.2d at 254-55).
      As stated in Gomez, the following factors are relevant to a privacy
expectation: “possession or ownership of the area searched or the property
seized; prior use of the area searched or the property seized; legitimate
presence in the area searched; ability to control or exclude others’ use of the
property; and a subjective expectation of privacy.” Gomez, 770 F.2d at 255
(internal citation omitted). The Defendant here failed to make a showing of any
one of these factors. Therefore, we are forced to find that the Defendant
clearly failed to sustain his burden of proving a legitimate expectation of
privacy.
                                IV. CONCLUSION
      For the reasons explained above, the Court DENIES Defendant’s motion for
new trial (Docket No. 2942).
      IT IS SO ORDERED.
      In San Juan, Puerto Rico, January 24, 2011.


                                          S/ JUAN M. PÉREZ-GIMÉNEZ
                                          JUAN M. PÉREZ-GIMÉNEZ
                                          UNITED STATES DISTRICT JUDGE
